






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00579-CV






In re Pablo T. Caudillo






ORIGINAL PROCEEDING FROM CALDWELL COUNTY





M E M O R A N D U M   O P I N I O N


 	Relator Pablo T. Caudillo has filed a petition for writ of mandamus, complaining that
the trial court had not entered judgments nunc pro tunc in his two convictions for drug possession
and criminal non-support.  See Tex. R. App. P. 52.8.  The judgments arise out of earlier convictions
that resulted in probation.  The State filed motions to revoke Caudillo's probation, and he pled true
to the allegations.  The trial court signed two judgments of conviction on August 2, 2010, sentencing
Caudillo to serve 700 days in state jail in each cause and setting the sentences to run concurrently. 
In the possession case, the trial court gave Caudillo time-served credit for 215 days.  In the non-support cause, the court gave him 252 days of time-served credit.  In his petition for writ of
mandamus, Caudillo argues that because his sentences are running concurrently, he should receive
credit for the cumulative total of the time granted by the court, 467 days.  We disagree.

	First, we note that the record presented by Caudillo does not support his argument
because it does not show when he earned the time-served credits, the conditions under which the
credits were granted, or other important information related to how the credits accumulated.  Even
if the record was complete, however, article 42.03, section 2(a) provides that the trial court "shall
give the defendant credit on his sentence for the time that the defendant has spent in jail for the
cause."  Tex. Code Crim. Proc. Ann. art. 42.03, § 2(a) (West Supp. 2010) (emphasis added). 
Caudillo's sentences are running concurrently but are separate and distinct from each other.  Thus,
the time-served credit earned in the possession case applies only to his sentence in that case, and the
credit earned in the non-support conviction, which was originally entered several years before the
possession conviction, applies only to that sentence.  That Caudillo's sentences are running at the
same time does not change the fact that he is serving two sentences for two different convictions and
does not mean that his two independent time-served credits should be combined.  See id.  We deny
the petition for writ of mandamus.


					__________________________________________

					David Puryear, Justice

Before Justices Puryear, Rose and Goodwin

Filed:   November 3, 2011


